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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY


   CHRISTINE CONFORTI, ARATI
   KREIBICH, MICO LUCIDE, JOSEPH
   MARCHICA, KEVIN MCMILLAN,                CIVIL ACTION
   ZINOVIA SPEZAKIS, and NEW                NO. 3:20-cv-08267-ZNQ-TJB
   JERSEY WORKING FAMILIES
   ALLIANCE, INC.,
                       Plaintiffs,
                  v.
   CHRISTINE GIORDANO HANLON, in her
   official capacity as Monmouth
   County Clerk, SCOTT M.
   COLABELLA, in his official
   capacity as Ocean County
   Clerk, PAULA SOLLAMI COVELLO,
   in her official capacity as
   Mercer County Clerk, JOHN S.
   HOGAN, in his official
   capacity as Bergen County
   Clerk, EDWARD P. MCGETTIGAN,
   in his official capacity as
   Atlantic County Clerk,
                  Defendants.



            BRIEF IN SUPPORT OF MOTION TO INTERVENE ON BEHALF OF
                  MIDDLESEX COUNTY DEMOCRATIC ORGANIZATION


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                            PRELIMINARY STATEMENT

        The Middlesex County Democratic Organization (the “MCDO”) is

  a not-for-profit and the official Democratic Party organization

  for Middlesex County.       The MCDO promotes and endorses Democratic

  candidates in Middlesex County.        The MCDO exercises its authority

  in   vetting    and    ultimately    endorsing   candidates     in   primary

  elections, and allowing the chosen candidates to bracket with like-

  minded candidates under a single slogan on the ballot.

        State law recognizes the First Amendment rights of the MCDO

  to affiliate with like-minded candidates and put such candidates

  on the ballot so they can be readily identified with each other.

  see N.J.S.A. 19:23-18; Quaremba v. Allan, 67 N.J. 1, 12 (1975).

  Plaintiffs’ First Amended Complaint seeks relief that would deny

  that long recognized First Amendment right.         The constitutionality

  of the laws challenged, as addressed infra, have been sustained in

  State Court, consistent with existing Federal precedent.

                 PROCEDURAL HISTORY AND STATEMENT OF FACTS

        On or about July 6, 2020, Plaintiffs initiated this matter by

  Complaint in the District Court of the District of New Jersey (the

  “Litigation”).        (ECF No. 1).        On or about January 25, 2021,

  Plaintiffs filed their First Amended Complaint.           (ECF No. 33).

        Defendants in the Litigation each filed a Motion to Dismiss.

  (see ECF Nos. 53, 55, 57, 58, 59, 60, 63). Plaintiffs filed their

  opposition to Defendants’ Motions to Dismiss on May 24, 2021. (ECF

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  No. 69). In reply, certain Defendants filed a reply to Plaintiffs’

  Opposition.             (see ECF Nos. 87, 89, 91, 92, and 96).                       On May 31,

  2022, this Court denied Defendants’ Motions to Dismiss.                                (ECF No.

  112).

           The primary contention in the Amended Complaint is that

  “bracketing”            of   like-minded       candidates       under     a   single     slogan

  provides a systemic advantage to certain candidates over others.

  (ECF No. 33, ¶¶95-99).                   Ultimately, Plaintiffs seek to have this

  Court declare the ability of like-minded candidates to bracket

  unconstitutional.             (ECF No. 33, ¶221).            Such a decision would void

  a    long       recognized        and    firmly     established      right      of    political

  parties, including the MCDO, to freely associate with candidates

  who share a core set of values.                     It must be noted that bracketing

  under       a     single     slogan      is   not       restricted   to   the    statutorily

  recognized             parties;    any    group     of     candidates     can   so     organize

  themselves consistent with the statute and appear bracketed on the

  ballot in a primary election.                   See, N.J.S.A. 19:49-2.




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                                        LEGAL ARGUMENT

  I.       STANDARD FOR INTERVENTION

           The Federal Rule of Civil Procedure, specifically Rule 24,

  governs the right to intervene.                      Fed. R. Civ. P. 24.           Pursuant to

  Fed. R. Civ. P. 24(a), a party is permitted to intervene as of

  right       “(1)       when   a   statute       of       the   United   States     confers   an

  unconditional right to intervene; or (2) when the applicant claims

  an interest relating to the property or transaction which is the

  subject of the action and he is so situated that the disposition

  of the action may as a practical matter impair or impede his

  ability to protect that interest, unless the applicant's interest

  is adequately represented by existing parties.”                             Am. Pipe & Const.

  Co. v. Utah, 414 U.S. 538, 544 n. 8 (1974).

           In      the     alternative,       a    party         may   move    for    permissive

  intervention under Fed. R. Civ. P. 24(b), “(1) when a statute of

  the United States confers a conditional right to intervene; or (2)

  when an applicant's claim or defense and the main action have a

  question of law or fact in common.”                        Am. Pipe, 414 U.S. at 544. n.

  9.        When         considering   permissive            intervention,       a   court   must

  “consider whether the intervention will unduly delay or prejudice

  the adjudication of the rights of the original parties.”                                   Id.;

  Fed. R. Civ. P. 24(b)(3).




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  II.      THE MCDO MUST BE ALLOWED TO INTERVENE AS OF RIGHT PURSUANT TO
           FED. R. CIV. P. 24(a)

           The MCDO is allowed as of right to intervene in the Litigation

  due to its interest in the outcome.                         The Third Circuit has

  consistently held that “a person is entitled to intervene if (1)

  the application for intervention is timely; (2) the applicant has

  a sufficient interest in the litigation; (3) the interest may be

  affected or impaired, as a practical matter by the disposition of

  the action; and (4) the interest is not adequately represented by

  an existing party in the litigation.”                   Harris v. Pernsley, 820

  F.2d 592, 596 (3d Cir. 1987) (citing Commonwealth of Pennsylvania

  v. Rizzo, 530 F.2d 501, 504 (3d Cir. 1976)); see also, Mountain

  Top Condo. Ass'n v. Dave Stabbert Master Builder, Inc., 72 F.3d

  361, 366 (3d Cir. 1995); Liberty Mut. Ins. Co. v. Treesdale, Inc.,

  419 F.3d 216, 220 (3d Cir. 2005).

           1.       The Motion for Intervention is Timely

           Courts        must   analyze   the   facts   and    circumstances   of   the

  proceedings and decide whether the motion to intervene is timely

  based on the totality of circumstances.                     In re Safeguard Scis.,

  220 F.R.D. 43, 46–47 (E.D. Pa. 2004) (see e.g., NAACP v. New

  York, 413 U.S. 345(1973); Mountain Top, 72 F.3d at 369).                      It is

  ultimately within the court’s sound discretion whether a motion to

  intervene is timely.             Donovan v. United Steelworkers of Am., AFL-

  CIO, 721 F.2d 126, 127 (3d Cir. 1983); see also, Mountain Top, 72


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  F.3d at 369.            The Third Circuit has set forth three factors to

  determine timeliness: “(1) the stage of the proceedings when the

  movant seeks to intervene; (2) possible prejudice caused to other

  parties by delay; and (3) the reason for delay.”                Rizzo, 530 F.2d

  at 506 (internal citations omitted); see also, Donovan, 721 F.2d

  at 127; Mountain Top, 72 F.3d at 369.

           The MCDO satisfies the timeliness requirement.              Here, the

  meaningful risk to the rights of MCDO ripened on May 31, 2022,

  when this Court denied Defendants’ respective Motions to Dismiss.

  This motion was filed promptly after the Court’s May 31 decision,

  and within the motion cycle that existing pending motions to

  intervene are scheduled to be heard.              As such, this matter is ripe

  for intervention, and this Motion to Intervene is timely.

           2.       The MCDO has Sufficient Interest which Will be Affected
                    or Impaired as a Practical Matter by the Disposition of
                    this Litigation

           The MCDO satisfies the second and third factors to intervene

  as of right because it has a sufficient, and in fact substantial,

  interest          in   the   disposition of the    Litigation   which   will be

  Affected or Impaired by the outcome.              A sufficient interest is one

  where there is a “legal interest as distinguished from interests

  of a general and indefinite character.”              Mountain Top, 72 F.3d at

  366 (citing Harris, 820 F.2d at 601).               Further, “[t]he applicant

  must demonstrate that there is a tangible threat to a legally

  cognizable interest to have the right to intervene.” Id.                Overall,

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  “intervenors should have an interest that is specific to them, is

  capable         of      definition,     and   will   be   directly   affected    in   a

  substantially concrete fashion by the relief sought.”                      Kleissler

  v. U.S. Forest Serv., 157 F.3d 964, 972 (3d Cir. 1998).

           The           New     Jersey   Supreme      Court    in     upholding    the

  constitutionality of both N.J.S.A. 19:23-18 and N.J.S.A. 19:49-2,

  found:

           The purpose of a ballot is to permit voters to record
           their will, and one must assume the Legislature intended
           a ballot so arranged that all voters may find their
           candidates with the least difficulty the total content
           of the ballot will permit.

  Quaremba, 67 N.J. at 12.

  The Court further held that the current law does not prevent voters

  from choosing who they wish to vote for, and therefore the law is

  clearly not “invidiously discriminatory.”                    See id. at 11.

           Quaremba is consistent with the U.S. Supreme Court holding in

  Eu v. San Francisco Cnty. Democratic Cent. Comm., 489 U.S. 214,

  215 (1989).                  In Eu, the Supreme Court held, as a matter of

  constitutional right under the First and Fourteenth Amendment, “a

  political party has a right to ‘identify the people who constitute

  the association.’”                Id. at 224.        The Court further noted that

  “[d]epriving a political party of the power to endorse suffocates

  [its constitutional] right.”                  Id.

           Here, MCDO’s legal interest is rooted in its constitutional

  right under the First and Fourteenth Amendment and recognized in

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   Quaremba and Eu.                  See Eu, 489 U.S. at 224.             The Litigation

   challenges             fundamental     and    long-standing   rights    of   the    MCDO,

   previously             affirmed   at   both the state      and   federal levels        in

   Quaremba and Eu.               As such, the MCDO is directly and immediately

   impacted by the relief sought, which if granted, will impact its

   ability to advance the core beliefs shared by its members.                         MCDO’s

   right to intervene is cleat when measuring the potential impacts

   the decision in this matter could have.

            3.       The Interests of the MCDO are not Adequately Represented
                     by an Existing Party in this Litigation

            The MCDO is separate and distinct from other parties.                        Its

   interests are not, and will not, be adequately represented in the

   Litigation.              The   burden    of    showing   inadequate    representation

   “should be treated as minimal.”                     Rizzo, 530 F.2d at 505 (citing

   Trbovich v. United Mine Workers, 404 U.S. 528, 538 n. 10 (1972)).

   An applicant must only show that representation of his interest

   “may be” inadequate.               Trbovich, 404 U.S. at 538 n. 10.

            Defendants here are the Clerks who implement state law but

   who have no interest in how the implementation of that law impacts

   the MCDO or any other group wishing to appear on a ballot under a

   single slogan, and easily identified and found by voters.                          MCDO’s

   interests lie not only within the right to associate, but the core

   set of values shared between the political party and its members,

   and the ability to present that shared message to Democratic voters


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   of Middlesex County and be easily found by voters looking at a

   ballot.

            The MCDO’s interests have not been and will not be briefed or

   heard by this Court by existing parties.                            As such, the MCDO

   satisfies the four (4) factors set forth in Harris, and should be

   granted intervention under Fed. R. Civ. P. 24(a).

   III. IN THE ALTERNATIVE, MCDO SHOULD BE GRANTED                               PERMISSIVE
        INTERVENTION PURSUANT TO FED. R. CIV. P. 24(b)

            In the event the Court should find MCDO has not met its burden

   under        Fed.       R.    Civ.   P.    24(a),     the   MCDO     seeks     permissive

   intervention.             The “denial of intervention as of right does not

   automatically mandate a denial of permissive intervention.”                         Hoots

   v. Com. of Pa., 672 F.2d 1133, 1136 (3d Cir. 1982) (citing McKay

   v. Heyison, 614 F.2d 899, 906 (3d Cir. 1980)).                        It is within the

   Court’s           discretion         in   determining       “whether         [permissive]

   intervention will unduly delay or prejudice the adjudication of

   the original parties’ rights.”                   See Fed. R. Civ. P 24(b)(3); see

   also, Hoots, 672 F.2d. at 1135.

            Here,         MCDO’s   position    on      the   ability    to   bracket      with

   likeminded candidates is the question presented in the Litigation.

   The question rests upon the constitutional standing of existing

   State laws allowing the affiliation and commonality of candidates

   to     be     readily        identified    on    ballots.      Consistent       with    the

   requirements of Fed. R. Civ. P. 24(b)(3), MCDO’s intervention will


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   not unduly delay or prejudice the parties because not only are

   there additional pending motions to intervene, but this Motion to

   Intervene is filed within the same motion cycle as those pending

   motions to intervene.

            Therefore, based on the commonality of MCDO’s claims and the

   main issue of the Litigation, and because the MCDO’s claims are

   not identical to any claims already heard and briefed, intervention

   will not be duplicative, and the parties will not be unduly delayed

   or prejudiced in their rights.       Therefore, MCDO should be granted

   permissive intervention.

                                   CONCLUSION

            For the foregoing reasons, the MCDO respectfully requests

   this Motion to Intervene be granted as of right, pursuant to Fed.

   R. Civ. P. 24(a), as the MCDO satisfies the four (4) factors set

   forth in Harris, 820 F.2d at 596.          In the alternative, the MCDO

   respectfully requests the Court grant it permissive intervention

   pursuant to Fed. R. Civ. P. 24.



                                      McManimon, Scotland & Baumann, LLC
                                      Attorneys for Middlesex County
                                      Democratic Organization


                                      By:/s/ William W. Northgrave
                                         William W. Northgrave

   Dated: August 2, 2022



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